






TEXAS COURT OF APPEALS, THIRD DISTRICT, AT AUSTIN






NO. 03-01-00667-CR







Tamarra Gaye Ferron, Appellant



v.



The State of Texas, Appellee







FROM THE DISTRICT COURT OF BELL COUNTY, 264TH JUDICIAL DISTRICT


NO. 42,328, HONORABLE JOE CARROLL, JUDGE PRESIDING







Appellant Tamarra Gaye Ferron pleaded guilty to felony theft and was placed on
deferred adjudication community supervision.  The district court later adjudicated Ferron guilty but
continued her supervision.  Most recently, the court revoked supervision and imposed sentence of
three years' imprisonment.  On appeal from the revocation order, Ferron contends that two of the
supervisory conditions she was found to have violated were invalid.  She further contends that the
remaining violations, all having to do with the failure to pay fees and costs, were not proved.

Ferron argues that the State failed to prove that she intentionally failed to pay the
required fees and costs.  See Ortega v. State, 860 S.W.2d 561, 567 (Tex. App.--Austin 1993, no
pet.).  Ferron pleaded true to all the probationary violations alleged in the State's motion to revoke. 
The plea of true was sufficient to support revocation.  Moses v. State, 590 S.W.2d 469, 470 (Tex.
Crim. App. 1979).  The sufficiency of the evidence cannot be challenged in the face of a plea of true. 
Rincon v. State, 615 S.W.2d 746, 747 (Tex. Crim. App. 1981).  In the cases on which Ferron relies,
the probationer did not admit the alleged nonpayment of fees.  See id. at 563; Washington v. State,
731 S.W.2d 648, 649 (Tex. App.--Houston [1st Dist.] 1987, no pet.).  Point of error two is
overruled.  

One sufficient ground for revocation will support the trial court's order.  Taylor v.
State, 604 S.W.2d 175, 180 (Tex. Crim. App. 1980).  Therefore, we need not address Ferron's
challenge to the validity of the remaining supervisory conditions.

The order revoking community supervision is affirmed.



				__________________________________________

				Bea Ann Smith, Justice

Before Chief Justice Aboussie, Justices B. A. Smith and Yeakel

Affirmed

Filed:   April 11, 2002

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